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                       Exhibit 10
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       Infringement Claim Chart for U.S. Pat. No. US9456086B1 v. Rent-a-Wreck (“Defendant”)


    Claim11                                              Evidence
11. A method for   The Rent-a-Wreck Customer service system with intelligent routing performs a method of
matching a first   matching a first entity with a second entity.
entity with a
second entity,     For example, the Rent-a-Wreck Customer system matches an incoming call, which is the
comprising:        first entity, to a call center agent, which is the second entity.




                   Source: https://www.rentawreck.com/contact.htm




                                                   1
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                     Source: https://www.rentawreck.com/helpful-information.htm




                     Source: https://www.rentawreck.com/initchat.html

storing a            The Rent-a-Wreck Customer service system with intelligent routing stores a plurality of
plurality of         multivalued scalar data representing inferential targeting parameters for the first entity.




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multivalued
scalar data         For example, the Rent-a-Wreck Customer service system uses one or more of: interactive
representing        voice response (IVR), keypad menus, caller identification and customer relationship
inferential         management (CRM) information to determine the nature of a call and thereby, the
targeting           required characteristics of a call center agent to handle the call. These required agent
parameters for      characteristics include one or more of: skills and respective skill levels, the agent’s
the first entity;   location, prior call history with calls of the same nature. These required characteristics
                    are represented by complaintsboard.com that comprises a plurality of multivalued scalar
                    data, which are stored and used, by the Rent-a-Wreck Customer service system, as
                    inferential, or intelligent, targeting parameters for routing the call to an appropriate call
                    center agent.




                    Source: https://www.rentawreck.com/contact.htm




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      Source: https://www.rentawreck.com/helpful-information.htm




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                   Source: https://www.rentawreck.com/initchat.html

storing a          The Rent-a-Wreck Customer service system with intelligent routing stores a plurality of
plurality of       multivalued scalar data of each of the plurality of second entities, representing
multivalued        inferential targeting parameters for a plurality of second entities.
scalar data of
each of the        For example, the Rent-a-Wreck Customer service system stores respective
plurality of       characteristics of multiple call center agents. These agent characteristics include one or
second entities,   more of: skills and respective skill levels, the agent’s location, and the agent’s prior
representing       history with handling calls of a specific nature. The agent characteristics are represented
inferential        by complaintsboard.com that comprises a plurality of multivalued scalar data and are
targeting          used, by the Rent-a-Wreck Customer service system, as inferential targeting parameters
parameters for a   for routing the call to an appropriate call center agent.
plurality of
second entities;




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      Source: https://www.rentawreck.com/contact.htm




      Source: https://www.rentawreck.com/helpful-information.htm




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                   Source: https://www.rentawreck.com/initchat.html

performing         The Rent-a-Wreck Customer service system with intelligent routing performs, using an
using an           automated processor and based on at least the stored plurality of multivalued scalar
automated          data, an economic optimization. The optimization seeks to maximize a normalized
processor,         economic surplus of a respective mutually exclusive match of the first entity with the
based on at        second entity, while at the same time considering an opportunity cost of the
least the stored   unavailability of the second entity as a result of the match.
plurality of
multivalue         For example, based on the required agent characteristics for handing the call and the
scalar data, an    respective characteristics of multiple call center agents, the Rent-a-Wreck Customer
economic           service system i.e., complaintsboard.com selects an appropriate agent for handling the
optimization       call. This selection is made by making, for each of the multiple agents, a cost-benefit
seeking to         analysis of a prospective matching of the call with the particular agent. The cost-benefit




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maximize a            for the prospective match is based, at least in part, on the required agent characteristics
normalized            and the characteristics of the particular agent. This prospective match is mutually
economic              exclusive in the sense that the call is only assigned to the particular agent and the agent
surplus of a          to this particular call for the duration of the call. Therefore, the cost-benefit analysis also
respective            accounts for the fact that the agent cannot handle other calls while handling this call.
mutually              The agent associated with the prospective match that has the maximum benefit while
exclusive match       considering the costs, which is the so-called normalized economic surplus, is selected by
of the first entity   the Rent-a-Wreck Customer service system to handle the call.
with the second
entity, in
conjunction with
an opportunity
cost of the
unavailability of
the second
entity as a result
of the match;
and




                      Source: https://www.rentawreck.com/contact.htm




                                                         8
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      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




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                Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts


outputting a    The Rent-a-Wreck Customer service system with intelligent routing outputs a signal in
signal in       dependence on the optimization.
dependence on
the             For example, the Rent-a-Wreck Customer service system generates and outputs a signal




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optimization.    for connecting the call with the matched agent, whereby the exact nature of the signal
                 depends on the matched agent so as to connect that agent to the call.




                 Source: https://www.rentawreck.com/contact.htm




                                                  11
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      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




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      Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts




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